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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                  Chapter 11

MARINER HEALTH CENTRAL, INC., et al.,1                  Case No. 22-10877 (LSS)

                 Debtors.                               (Joint Administration Requested)



                             NOTICE OF FILING OF REVISED BUDGET

         PLEASE TAKE NOTICE that on September 19, 2022, the above-captioned debtors and

debtors in possession (the “Debtors”) filed the Declaration of Lawrence Perkins in Support of

Chapter 11 Petitions and First Day Pleadings [Docket No. 12] (the “First Day Declaration”).

Attached to the First Day Declaration as Exhibit B was a projected 13-week cash flow budget (the

“Budget”).

         PLEASE TAKE FURTHER NOTICE that on September 21, 2022, the Debtors filed a

revised Budget. A copy of the revised Budget is attached hereto as Exhibit A.



Dated: September 21, 2022                       /s/ Mary F. Caloway
       Wilmington, Delaware                     Laura Davis Jones (DE Bar No. 2436)
                                                Timothy P. Cairns (DE Bar No. 4228)
                                                Mary F. Caloway (DE Bar No. 3059)
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                                                - and -


1   The Debtors, along with the last four digits of each Debtors’ tax identification number, are Mariner
    Health Central, Inc. (6203), Parkview Holding Company GP, LLC (1536), and Parkview Operating
    Company, LP (7273). The Debtors’ headquarters are located at 3060 Mercer University Drive, Suite
    200, Atlanta, GA 30341.


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                                        Possession




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                                        Exhibit A

                                     (Revised Budget)




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